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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 LA UNION DEL PUEBLO ENTERO, et al.,§
     Plaintiffs,                    §                   CIVIL ACTION NO.
                                    §
 v.                                 §                   5:21-CV-0844-XR
                                    §
 STATE OF TEXAS, et al.,            §                   [Consolidated Action: Lead Case]
     Defendants.                    §

  NOTICE OF APPEARANCE OF COUNSEL FOR BEXAR COUNTY DEFENDANTS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to Western District of Texas Local Rule AT-3, Defendants Bexar County Criminal

District Attorney Joe Gonzales and Elections Administrator Jacquelyn Callanen notify the Court that

Robert William Piatt III will appear as counsel in the above-captioned case along with Lisa Cubriel

and Larry Roberson.

       Mr. Piatt is a member in good standing with the State Bar of Texas and is admitted to practice

before the Western District of Texas. His contact information is as follows:



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               Bar No. 24041692
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                                               Respectfully submitted,

                                               JOE D. GONZALES
                                               Bexar County Criminal District Attorney

                                               By: /s/ Robert W. Piatt III
                                               Robert William Piatt III
                                               Bar No. 24041692
                                               Assistant District Attorney, Civil Division
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                                  CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was filed electronically August 24, 2023, with
the clerk of court for the U.S. District Court, Western District of Texas.by using the CM/ECF
system, causing electronic service upon all counsel of record.



                                                        /s/ Robert W. Piatt III
                                                       ROBERT W. PIATT III




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